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                                                                          Entered on Docket
                                                                      5 September 07, 2018
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                                                                             COHEN JOHNSON PARKER EDWARDS
                                                                      7
                                                                             H. STAN JOHNSON, ESQ.
                                                                      8      Nevada Bar No.: 00265
                                                                             sjohnson@cohenjohnson.com
                                                                      9      RYAN D. JOHNSON, ESQ.
                                                                             Nevada Bar No.: 14724
                                                                     10      375 E. Warm Springs Rd. Ste 104
                                                                             Las Vegas, NV 89119
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                             Telephone: (702) 823-3500
                                                                     12      Facsimile: (702) 823-3400
                                                                             and
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400
                                      Las Vegas, Nevada 89119




                                                                     14      Attorneys for Expeditors International of Washington, Inc.

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                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                     16
                                                                                                              FOR THE DISTRICT OF NEVADA
                                                                     17
                                                                             In re
                                                                     18                                                                   Case No.: BK-S-18-14683-LEB
                                                                             GUMP’s HOLDINGS, LLC et al.                                            Chapter 11
                                                                     19
                                                                                                    Debtors                                 Jointly Administered with:
                                                                     20

                                                                     21                                                             No.: BK-S-14684 (In re Gum’s Corp.)
                                                                                                                                No.: BK-S-14685 (In re Gump’s By Mail, Inc.)
                                                                     22
                                                                                                                                Hearing Date: September 12, 2018
                                                                     23                                                         Hearing Time: 10:00 A.M.
                                                                                    Affects this Debtor
                                                                     24
                                                                                    Affects all Debtors
                                                                     25             Affects Gump’s Corp.
                                                                                    Affects Gump’s By Mail, Inc.
                                                                     26
                                                                               NOTICE OF HEARING AND ORDER SHORTENING TIME TO HEAR MOTION BY
                                                                     27
                                                                                        EXPEDITORS INTERNATIONAL OF WASHINGTON, INC.
                                                                     28       FOR ADEQUATE PROTECTION AND FOR RELIEF FROM THE AUTOMATIC STAY
                                                                                                                         Page 1 of 3
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                                                                                 On September 6th, 2018, Expeditors International of Washington, Inc., (“Expeditors”),
                                                                      2

                                                                      3   Creditor, filed their Motion by Expeditors International of Washington, Inc. for Adequate

                                                                      4   Protection and for Relief from the Automatic Stay on an Order Shortening Time. (the

                                                                      5   “Expeditors Motion”)
                                                                      6
                                                                                 In the Expeditors Motion, Creditor Expeditors requested adequate protection and relief
                                                                      7
                                                                          from the automatic stay regarding goods that were in the possession of Expeditors on the date the
                                                                      8
                                                                          petition was filed.
                                                                      9
                                                                                 The Court, having considered the Ex Parte Application for Order Shortening Time to
                                                                     10
                                                                          Hear Motion by Expeditors International of Washington, Inc. for Adequate Protection and for
COHEN JOHNSON PARKER EDWARDS




                                                                     11

                                                                     12   Relief from The Automatic Stay, and good cause appearing therefore,
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                                 IT IS HEREBY ORDERED and notice is hereby given that the Expeditors Motion shall
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                          be heard by a United States Bankruptcy Judge on the 12th day of September 2018, at 10:00 A.M.
                                                                     15
                                                                          at the Foley Federal Bldg. at 300 Las Vegas Boulevard South, Courtrom 3, Las Vegas, NV 89101.
                                                                     16
                                                                                 A copy of the above-referenced Expeditors Motion and any supporting declarations and
                                                                     17

                                                                     18   exhibits are available on file with the clerk of the United States Bankruptcy Court for the District

                                                                     19   of Nevada, Foley Federal Building and U.S. Courthouse, 300 S. Las Vegas Blvd., Las Vegas,

                                                                     20   NV 89101, or may be obtained by emailing Cohen Johnson Parker Edwards at the email address
                                                                     21   listed above.
                                                                     22
                                                                                  IT IS HEREBY FURTHER ORDERED that this Order Shortening Time shall be served
                                                                     23
                                                                          immediately upon entry; that any oppositions to the Motion and replies to the oppositions may be
                                                                     24
                                                                          presented at the hearing. and that this hearing may be continued from time to time without further
                                                                     25
                                                                          notice except for the announcement of any adjourned dates and times at the above noticed hearing
                                                                     26
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                                                                      1   or any adjournment thereof.

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                                                                      5
                                                                                IT IS SO ORDERED.
                                                                      6

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                                                                      8   PREPARED AND SUBMITTED BY:

                                                                      9   COHEN JOHNSON PARKER EDWARDS
                                                                     10     By: /s/ H. Stan Johnson,________
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                                H. STAN JOHNSON, ESQ.
                                                                     12         Nevada Bar No.: 00265
                                                                                RYAN D. JOHNSON, ESQ.
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                                                                     14         Las Vegas, NV 89119
                                                                     15
                                                                                Attorneys for Creditor Expeditors
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